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  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
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 11    TEE TURTLE, LLC                             Case No.: 2:21-CV-03572-CBM-E(x)
 12           Plaintiff,                           PERMANENT INJUNCTION
       v.
 13
       ABMASK, et al.,
 14
              Defendants.
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 17         Consistent with the Court’s Order re: Plaintiff’s Motion for Default
 18   Judgment and Preliminary Injunction, the Court orders that each Defendant, his
 19   officers, agents, servants, and employees, and any persons in active concert or
 20   participation with him, are permanently restrained and enjoined from engaging in
 21   any of the following acts or omissions:
 22                (a)     From manufacturing, producing, importing, exporting,
 23                        advertising, marketing, promoting, distributing, displaying,
 24                        offering for sale, selling any products that have a design that is
 25                        substantially similar to Tee Turtle’s Reversible Octopus
 26                        Plushies as reflected in the copyrighted work registered under
 27                        Registration Number VA 2-103-871;
 28                (b)     From manufacturing, producing, importing, exporting,

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  1                     advertising, marketing, promoting, distributing, displaying,
  2                     offering for sale, selling any products that are confusingly
  3                     similar to Tee Turtle’s trade dress embodied in the Reversible
  4                     Octopus Plushies;
  5               (c)   From secreting, concealing, destroying, altering, selling off,
  6                     transferring, or otherwise disposing of and/or dealing with
  7                     products which infringe Tee Turtle’s copyright of the
  8                     Reversible Octopus Plushies (Registration Number VA 2-103-
  9                     871) and Tee Turtle’s trade dress embodied in the Reversible
 10                     Octopus Plushies (hereinafter, “Infringing Products”);
 11               (d)   From effecting assignments or transfers, forming new entities
 12                     or associations, or creating and/or utilizing any other platform,
 13                     account, storefront, or any other means of importation,
 14                     exportation, advertising, marketing, promotion, distribution,
 15                     display, offering for sale, and/or sale of Infringing Products for
 16                     the purpose of circumventing or otherwise avoiding the
 17                     prohibitions set forth in any injunction ordered by the Court in
 18                     this Action; and
 19               (e)   Assisting, aiding, or attempting to assist or aid any other
 20                     person or entity in performing any of the prohibited activities
 21                     referred to in Paragraphs (a) to (d) above.
 22         IT IS SO ORDERED.
 23
 24   SIGNED this 17th day of November, 2021 at 11:30 a.m.
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                                            CONSUELO B. MARSHALL
 27                                         UNITED STATES DISTRICT JUDGE
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